     Case 4:22-cv-03472 Document 1-2 Filed on 10/07/22 in TXSD Page 1 of 31




                        EXHIBIT A




BAUTISTA/ LOWE’S INDEX OF MATTERS BEING FILED - NOTICE OF REMOVAL
Doc# 8345897 / 10091 / 00292                                           1|P a g e
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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 ALFREDO BAUTISTA,                                           §
                                                             §
          Plaintiff,                                         §
                                                             §
 v.                                                          §      CIVIL ACTION NO. ______
                                                             §      JURY TRIAL DEMANDED
 LOWE’S HOME CENTERS, LLC AND                                §
 LOWE’S COMPANIES, INC.                                      §
                                                             §
          Defendants.                                        §



      DEFENDANTS LOWE’S HOME CENTERS, LLC’S AND LOWE’S COMPANIES, INC.’S
                        INDEX OF MATTERS BEING FILED


         Defendants LOWE’S HOME CENTERS, LLC AND LOWE’S COMPANIES, INC., hereby

filed this Index of all documents filed in State Court Action:

A.     Index of Documents:

      1) Plaintiff’s Original Petition, filed on September 6, 2022;

      2) Process Request for Lowe’s Home Centers, LLC, filed on September 6, 2022;

      3) Process Request for Lowe’s Companies, Inc., filed on September 6, 2022

      4) Affidavit of Service for Lowe’s Home Centers, LLC, filed on September 21,

         2022;

      5) Affidavit of Service for Lowe’s Companies, Inc., filed on September 21, 2022;

      6) Defendants Lowe’s Home Centers, LLC’s and Lowe’s Companies, Inc.’s

         Original Answer and Demand for Jury Trial, filed on October 4, 2022; and

      7) Case Sheet.




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     Case 4:22-cv-03472 Document 1-2 Filed on 10/07/22 in TXSD Page 3 of 31




                                                   Respectfully submitted,

                                                   MAYER LLP
                                                   2900 North Loop West, Suite 500
                                                   Houston, Texas 77092
                                                   713.487.2000/Fax 713.487.2019

                                                   By: /s/ Jason M. Gunderman
                                                      Kevin P. Riley
                                                      State Bar No. 16929100
                                                      Federal Bar No. 13776
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                                                      Federal Bar No. 3395605
                                                      E-Mail: jgunderman@mayerllp.com

                                                   ATTORNEYS FOR DEFENDANTS
                                                   LOWE’S HOME CENTERS, LLC AND
                                                   LOWE’S COMPANIES, INC.




BAUTISTA/ LOWE’S INDEX OF MATTERS BEING FILED - NOTICE OF REMOVAL
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                                  CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on October 7, 2022, the foregoing
Defendants Lowe’s Home Centers, LLC’s and Lowe’s Companies, Inc.’s Index of Matter
Being Filed was electronically filed, as required by the United States District Court
for the Southern District of Texas, using the Court’s CM/ECF filing system, which
will provide notice and a copy of this document, with attachments, to the following,
who are indicated to be registered ECF filers in the United States District Court for
the Southern District of Texas:


             Hugo R. Montes                               ☒E-MAIL:
           The NMW Law Firm                               ☐HAND DELIVERY
      3 Greenway Plaza, Suite 1575                        ☐FACSIMILE
          Houston, Texas 77046                            ☐OVERNIGHT MAIL
    Email: hrmontes@nmwlawfirm.com
                                                          ☐REGULAR, FIRST-CLASS MAIL
       COUNSEL FOR PLAINTIFF                              ☒CM/ECF
                                                          ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED


                                                            Jason M. Gunderman
                                                            Jason M. Gunderman




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                 2022-56128 / Court: 164
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Case 4:22-cv-03472 Document 1-2 Filed on 10/07/22 in TXSD Page 18 of 31
Case 4:22-cv-03472 Document 1-2 Filed on 10/07/22 in TXSD Page 19 of 31 9/21/2022 9:24 PM
                                                            Marilyn Burgess - District Clerk Harris County
                                                                                 Envelope No. 68499624
                                                                                         By: Kathy Givens
                                                                                Filed: 9/21/2022 9:24 PM
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Status as of 9/22/2022 9:37 AM CST
Case Contacts
Name            BarNumber   Email                      TimestampSubmitted     Status
Hugo R.Montes               hrmontes@nmwlawfirm.com    9/21/2022 9:24:20 PM   SENT
Case 4:22-cv-03472 Document 1-2 Filed on 10/07/22 in TXSD Page 22 of 31 9/21/2022 9:24 PM
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Hugo R.Montes               hrmontes@nmwlawfirm.com    9/21/2022 9:24:20 PM   SENT
         Case 4:22-cv-03472 Document 1-2 Filed on 10/07/22 in TXSD Page 25 of 31                       10/4/2022 3:37 PM
                                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                 Envelope No. 68891789
                                                                                                          By: Marcella Hill
                                                                                                Filed: 10/4/2022 3:37 PM

                                            CAUSE NO. 2022-56128

ALFREDO BAUTISTA                                             §     IN THE DISTRICT COURT
    Plaintiff,                                               §
                                                             §
                                                             §
v.                                                           §      HARRIS COUNTY, TEXAS
                                                             §
LOWE’S HOME CENTERS, LLC                                     §
AND LOWE’S COMPANIES, INC.                                   §
    Defendants                                               §     164TH JUDICIAL DISTRICT




                     DEFENDANTS LOWE’S HOME CENTERS, LLC AND
                              LOWE’S COMPANIES, INC.’S
                    ORIGINAL ANSWER AND DEMAND FOR JURY TRIAL


             Defendants, Lowe’s Home Centers, LLC and Lowe’s Companies Inc., (“Lowe’s”)

     hereby files its Original Answer to Plaintiff’s Original Petition as follows:

                                                     I.
                                               GENERAL DENIAL

             1.       Lowe’s denies each and every, all and singular, the material allegations

     contained within Plaintiff’s pleadings and demands strict proof thereof.

                                                  II.
                                        INFERENTIAL REBUTTALS

             2.       Notwithstanding the foregoing, Lowe’s asserts the following by way of

     inferential rebuttal and requests that the Court instruct the jury as follows:

                      a.       New and Independent Cause / Superseding Intervening
                               Cause. The alleged damages in question as set forth in the
                               Petition were caused by the conduct of Plaintiff, and that said
                               conduct destroyed any causal connection between the alleged acts
                               or omissions of Lowe’s and the injuries complained of thus
                               becoming an independent, superseding, or intervening cause of
                               the Plaintiff's alleged damages.

     Bautista – Lowe’s Answer to Plaintiff’s Original Petition            Doc. 8344074 (10091.00292)
                                                                                              Page 1
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                 b.       Sole Proximate Cause. The act(s) or omission(s) of Plaintiff or a
                          third party was the sole cause of the damages she alleges in the
                          Petition and therefore, Lowe’s is not liable to the Plaintiff.

                                             III.
                                    AFFIRMATIVE DEFENSES

        3.       Pleading further, alternatively, and by way of affirmative defense,

Lowe’s asserts that any damages sought to be recovered by Plaintiff should be

reduced to the extent that Plaintiff has failed to take the reasonable steps that a

person of ordinary prudence in a similar situation would have taken to avoid and

mitigate the claimed damages.

        4.       Pleading further, alternatively, and by way of affirmative defense,

Lowe’s asserts that in the unlikely event that an adverse judgment would be rendered

against it, Lowe’s would respectfully request all available credits and/or offsets as

provided by the Texas Civil Practice & Remedies Code and under Texas law.

        5.       Lowe’s hereby gives notice that it intends to rely upon such other

defenses or denials, affirmative or otherwise, and to assert third-party claims and

any other claims, as may become available or appear during discovery as it proceeds

in this matter, and hereby reserves the right to amend its Original Answer to assert

such defenses.

        6.       Pleading further, alternatively, and by way of affirmative defense,

Lowe’s asserts that in addition to any other limitation under law, Plaintiff's recovery

of medical or health care expenses is limited to the amount actually paid or incurred




Bautista – Lowe’s Answer to Plaintiff’s Original Petition            Doc. 8344074 (10091.00292)
                                                                                         Page 2
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by or on behalf of Plaintiff, pursuant to Section 41.0105 of the Texas Civil Practice &

Remedies Code.

        7.       Pleading further, alternatively, and by way of affirmative defense,

Lowe’s hereby affirmatively pleads that Plaintiff engaged in acts, including acts of

negligence, which caused Plaintiff's alleged damages. Therefore, Plaintiff is barred,

in whole or in part, from recovering any damages from Lowe’s.

        8.       Pleading further, alternatively, and by way of affirmative defense,

Lowe’s hereby requests that the trier of fact in this matter, after a trial on the merits,

consider and determine the percentage of responsibility of Plaintiff and any other

party or responsible third party pursuant to Chapter 33 of the Texas Civil Practice &

Remedies Code.

        9.       Pleading further, alternatively, and by way of affirmative defense,

Lowe’s asserts that Plaintiff's claims of physical and/or mental ailments in this cause

were, in whole or in part, proximately caused solely and/or proximately by prior

and/or subsequent accidents, events, or occurrences. Lowe’s further asserts that

Plaintiff's claims of injuries and damages are the result in whole or in part of pre-

existing conditions, injuries, diseases, and disabilities and not the result of any act or

omission on the part of Lowe’s.

        10.      Pleading further, alternatively, and by way of affirmative defense,

Lowe’s alleges that the accident made the basis of this lawsuit was just that, an

accident, not caused by the negligence of any party.




Bautista – Lowe’s Answer to Plaintiff’s Original Petition          Doc. 8344074 (10091.00292)
                                                                                       Page 3
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        11.      By way of affirmative defense, Plaintiff's claims, if any, for lost wages

and/or loss of future earning capacity are barred, limited, restricted, and/or governed

by the provisions of the Texas Civil Practice & Remedies Code Chapter 18, and any

other applicable statute concerning the recovery of damages and the common law of

Texas and limiting same to the net loss after reduction for income tax payments or

unpaid tax liability thereon. Accordingly, Lowe’s specifically pleads the limitations,

restrictions and/or bar on the recovery by Plaintiff of such damages in accordance

with Chapter 18 and other applicable law.

                                                 IV.
                                            JURY DEMAND

        1.                12.     In accordance with Rule 216 of the Texas Rules of Civil

Procedure, Defendants demands a trial by jury and tenders the applicable jury fee

with its Answer.

                                                  PRAYER

        13.      Defendants, Lowe’s Home Center, LLC and Lowe’s Companies Inc.

prays that Plaintiff take nothing by his lawsuit, that Lowe’s go hence with its costs

without delay, and for such other and further relief, both general and special, at law

and in equity, to which Lowe’s may show itself justly entitled.




Bautista – Lowe’s Answer to Plaintiff’s Original Petition            Doc. 8344074 (10091.00292)
                                                                                         Page 4
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                                                    Respectfully submitted,

                                                    MAYER LLP

                                                    2900 North Loop West, Suite 500
                                                    Houston, Texas 77092
                                                    713.487.2000 / F: 713.487.2019


                                                    By: /s/: Kevin P. Riley
                                                        Kevin P. Riley
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                                                        Jason M. Gunderman
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                                                        E-Mail: jgunderman@mayerllp.com

                                                    ATTORNEYS FOR DEFENDANTS
                                                    LOWE’S HOME CENTERS, LLC AND
                                                    LOWE’S COMPANIES INC.



                                   CERTIFICATE OF SERVICE

       This is to certify that on the 4th day of October 2022, a true and correct copy of
the foregoing has been forwarded to all counsel of record as follows:

                                                            ☐E-MAIL
                                                            ☐HAND DELIVERY
             Hugo R. Montes                                 ☐FACSIMILE
           The NMW Law Firm
                                                            ☐OVERNIGHT MAIL
      3 Greenway Plaza, Suite 1575
                                                            ☐REGULAR, FIRST CLASS MAIL
          Houston, Texas 77046
    Email: hrmontes@nmwlawfirm.com                          ☒E-FILE AND SERVE
                                                            ☐E-SERVICE ONLY
        COUNSEL FOR PLAINTIFF                               ☐CERTIFIED MAIL/RETURN RECEIPT
                                                            REQUESTED




                                                    /s/ Jason M. Gunderman
                                                    Jason M. Gunderman


Bautista – Lowe’s Answer to Plaintiff’s Original Petition                     Doc. 8344074 (10091.00292)
                                                                                                  Page 5
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STEPHANIE ARMS on behalf of Jason Gunderman
Bar No. 24085349
sarms@mayerllp.com
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Status as of 10/4/2022 4:11 PM CST
Case Contacts
Name              BarNumber   Email                      TimestampSubmitted     Status
Hugo R.Montes                 hrmontes@nmwlawfirm.com    10/4/2022 3:37:49 PM   SENT
Jason Gunderman               jgunderman@mayerllp.com    10/4/2022 3:37:49 PM   SENT
Kevin Riley                   kriley@mayerllp.com        10/4/2022 3:37:49 PM   SENT
Stephanie Arms                sarms@mayerllp.com         10/4/2022 3:37:49 PM   SENT
Jason Gunderman               jgunderman@mayerllp.com    10/4/2022 3:37:49 PM   SENT
Kevin Riley                   kriley@mayerllp.com        10/4/2022 3:37:49 PM   SENT
Stephanie Arms                sarms@mayerllp.com         10/4/2022 3:37:49 PM   SENT
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                                                            County 10/07/22
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                                                                                   Marilyn       Page 31 of 31
                                                                                           Burgess


  HCDistrictclerk.com               BAUTISTA, ALFREDO vs. LOWE'S HOME CENTERS                                         10/5/2022
                                    LLC (FOREIGN CORPORATION)
                                    Cause: 202256128  CDI: 7   Court: 164

  DOCUMENTS
  Number           Document                                                                        Post Date              Pgs
                                                                                                   Jdgm
  104398319        Defendant Lowe's Original Answer and Demand for Jury Trial                            10/04/2022       6
                   Defendant Lowe's Original Answer and Demand for Jury Trial                            10/04/2022
  104175137        Citation Return- Lowe's Companies Inc                                                 09/21/2022       3
  104175138        Citation Return- Lowe's Home Centers LLC                                              09/21/2022       3

  103930665        eIssue: Citation (NonRes - Corporate)                                                 09/08/2022       3
  103930748        eIssue: Citation (NonRes - Corporate)                                                 09/08/2022       3
  103874886        PLAINTIFF’S ORIGINAL PETITION                                                         09/06/2022       8




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